Case 2:13-cr-00072-SPC-NPM Document 274-3 Filed 05/02/18 Page 1 of 1 PagelD 6444

 

 

 

 

 

 

 

 

 

 

    

 

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F 568 Department of the Treasury - Internal Revenue Service
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(Rev. February 2004) Notice of Federal Tax Lien
Area: Serial Number For Optional Use by Recording Office
SMALL BUSINESS/SELF EMPLOYED AREA #3
Lien Unit Phone: (800) 913-6050 214181716 RECORDED IN OFFICIAL RECORDS
As provided by section 6321, 6322, and 6323 of the Internal Revenue ure Ot. 2016. Bear 40 anos
Code, we are giving a notice that taxes (including interest and penalties) CLERK OF THE CHRCULT COURT
have been assessed against the following-named taxpayer. We have made SARASOTA COUNTY, FL
a demand for payment of this liability, but ic remains unpaid. Therefore,
there is a lien in favor of the United States on all property and rights to
there is a fien in favor of the United States on all property and rights © | 44 dH ILL
additional penalties, interest, and costs that may accrue.
Name of Taxpayer PATRICIA HOUGH
Residence 1548 SELBY LANE UNIT 7
SARASOTA, FL 34236
IMPORTANT RELEASE INFORMATION: For each assessment listed below,
unless notice of the lien is refiled by the date given in column (e), this notice shall,
on the day following such date, operate as a certificate of release as defined
in IRC 6325{a).
Tax Period Date of Last Day for Unpaid Balance
Kind of Tax Ending Identifying Number | Assessment Refiling of Assessment
(a) (b) (c) (d) (e) (f)
R1040 [12/31/2007] XXX-XX-7780 |04/25/2016] 05/25/2026 7372792.12

Pursuant to JRC 86201 (a) (4), |these assessments reflect the amount] of restitution ordered payable to the IRS.

 

 

 

 

 

Place of Filing
SARASOTA CLERK OF CIRCUIT COURT
Sarasota County Total |$ 7372792.12
Sarasota, FL 33578

 

 

BALTIMORE, MD

 

 

This notice was prepared and signed at , on this,
the 24ER gayor_ MAY 2.016
Signature Title

Chih Cordon REVENUE OFFICER 23-02-4150
for MICHAEL CARR (239) 938-9127

 

 

(NOTE: Certificate of officer authorized by law to take acknowledgment is not essential to the validity of Notice of Federal Tax lien

Rev. Rul. 71-466, 1971 -2C.B. 409
ev. Ru } Form 668(Y)(c) (Rev. 2-2004)

Part 1 - Kept By Recording Office CAT. NO 60025X
